        Case 3:22-cv-00178-SDD-SDJ             Document 257       03/06/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA



 DR. DOROTHY NAIRNE, et al.

                                       Plaintiffs,

       v.                                             CIVIL ACTION NO. 3:22-cv-00178
                                                      SDD-SDJ
R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana,                      Chief Judge Shelly D. Dick
                                                      Magistrate Judge Scott D. Johnson
                                       Defendant.




                        MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83(b)(8), John Adcock, a member of the bar of this Court, hereby

moves for the admission of Colin Burke of the NAACP Legal Defense and Educational Fund,

Inc. to appear pro hac vice in the above-captioned matter as counsel for the Plaintiffs.

       Pursuant to Local Rule 83(b)(8)(B), attached as Exhibit A is a Certificate of Good

Standing issued by the Clerk of the Appellate Division of the Supreme Court of New York,

showing that Mr. Burke has been admitted and is in good standing in the state of New York.

       Pursuant to Local Rule 83(b)(8)(C), attached as Exhibit B is a declaration under oath by

Colin Burke swearing that no disciplinary proceedings or criminal charges have been instituted

against him.

       Mr. Burke’s contact information is as follows: Colin Burke, NAACP Legal Defense and

Educational Fund, Inc., 40 Rector Street, 5th Floor, New York, NY; Phone: (212)965-2200; Fax:

(202) 682-1312; Email: cburke@naacpldf.org.
        Case 3:22-cv-00178-SDD-SDJ            Document 257       03/06/24 Page 2 of 3




       The undersigned local counsel understands that he will be responsible to the Court at all

stages of the proceedings and that he must co-sign all documents filed in this matter.



                                                     Respectfully submitted,

                                                     /s/ John Adcock
                                                     John Adcock
                                                     ADCOCK LAW LLC
                                                     Louisiana Bar No. 30372
                                                     3110 Canal Street
                                                     New Orleans, LA 70119
                                                     Tel.: (504) 233-3125
                                                     Fax: (504) 308-1266
                                                     jnadcock@gmail.com
                                                     Attorney for Plaintiffs
          Case 3:22-cv-00178-SDD-SDJ          Document 257       03/06/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2024, I electronically filed the foregoing Motion for

Admission Pro Hac Vice with the Clerk of Court by using the CM/ECF system, which will send

a notice of electronic filing to counsel of record who are registered with the Court’s CM/ECF

system.

                                                     /s/ John Adcock
                                                     John Adcock (La. Bar No. 30372)
                                                     Attorney for Plaintiffs
